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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

 PATRICIA HAWKINS                           §
                                            §
 v.                                         §     CIVIL CASE NO. 4:21-CV-265-SDJ
                                            §
 UHS OF TEXOMA, INC. D/B/A                  §
 TEXOMA MEDICAL CENTER                      §

                                FINAL JUDGMENT
      .
      Pursuant    to    the   Court’s   Memorandum     Adopting   the   Report   and

Recommendation of the United States Magistrate Judge, which recommended that

this case be dismissed with prejudice, the Court hereby issues its Final Judgment,

effective upon entry.

      It is therefore ORDERED that all of Plaintiff’s claims against Defendant are

DISMISSED WITH PREJUDICE.

      All relief not previously granted is hereby denied.

          So ORDERED and SIGNED this 31st day of August, 2021.




                                                     ____________________________________
                                                     SEAN D. JORDAN
                                                     UNITED STATES DISTRICT JUDGE
